Case 2:04-cv-02399-.]DB-dkv Document 20 Filed 06/08/05 Page 1 of 3 Page|D 40

rN THE UNITED sTATEs DISTRICT CoURT F“~Eg B"i' Y ml
FoR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DivisIoN 05 JUN -8 PH 3= 35
DIRECTV, INC., a Cali fOITlla COI'p_, %EE§§T l;;rjx:)é:i-§;OH?
W.o. `oi~“ mi assumes
Plaintiff,
V' NO. 04-2399 B v
JEssE POWELL,
Defendant.

 

ORDER TO SHOW CAUSE

 

Before the Court is the motion of the Plaintiff, D[RECTV, lnc., for summary judgment
against the Def`endant, J esse Powell, based on the Defendant’s failure to cooperate in the discovery
process in this action. This matter was referred to United States Magistrate Judge Diane Vescovo
for a report and recommendation and/or determination However, the Defendant never filed a
response to the Plaintiff"s motion. Nevertheless, on May 3, 2005, Judge Vescovo considered the
motion and recommended that Plaintiff"s motion be granted Accordin g to the Court's docket, no
objections to the report and recommendation have been filed even though the time for doing so has
past.l Accordingly, Defendant is ORDERED to show cause within fifteen (15) days of entry of this
order why the Plaintiff"s motion for summary judgment should not be granted and the magistrate
judge’s report and recommendation not be adopted Failure to respond to the Court’s directive in

a timely manner may result in a judgment in favor of the Plaintiff.

 

' A party who disagrees with the proposed findings and recommendations must file
written objections within ten days of service of the recommendations w 28 U.S.C. §
636(b)(l); Fed. R. Civ. P. 72(b).

Trjis document entered on the docket sheet fn compliance `
with Hu|e 58 and/or 79(a) FHCP on fig "r_l 551 920

Case 2:O4-cv-O2399-.]DB-dkv Document 20 Filed 06/08/05 Page 2 of 3 Page|D 41

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IT ls so oRDERED this it day OfJune, 2005.

 

J A IEL BRE'EN \U
iTE sTATEs DISTRJCT DGE

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 20 in
case 2:04-CV-02399 was distributed by f`aX, mail, or direct printing on
June 8, 2005 to the parties listedl

 

 

Antonio L. Matthews

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Honorable J. Breen
US DISTRICT COURT

